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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )              8:05CR94
                    Plaintiff,                      )
                                                    )
    vs.                                             )              ORDER
                                                    )
LEONARDO VARGAS-GONZALEZ,                           )
                                                    )
                Defendant.                          )


     The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-named defendant
in support of a request for appointed counsel. After a review of the Financial Affidavit, I find that the above-
named defendant is eligible for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
§3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.

    IT IS ORDERED:

    The Motion to withdraw counsel, Filing No. 299 is granted. Wes Dodge is appointed to represent the
above named defendant in this matter and attorney James Mitchell shall deliver the Rule 16 discovery material
to Mr. Dodge by December 18, 2006.

     IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18 U.S.C.
§3006A(f). At the time of the entry of judgment herein, defendant shall file a current and complete financial
statement to aid the court in determining whether any portion of counsel's fees and expenses should be
reimbursed by defendant.

    IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal Public
Defender and Wes Dodge.

    DATED this 11th day of December, 2006.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
